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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 13-cr-OO

                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
MIGUEL ANGEL GONZALEZ­
HERNANDEZ,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

__
 x __ an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8:1324(a) (1) (A) (ii) and (v) (II) - Transportation of Illegal Aliens and

     Aiding and Abetting (1)

          IT IS THEREFORE ADJUDGED                                                    ed.



 DATED: 2/26/13
                                            Nita L. Stormes
                                            U.S. Magistrate Judge
